Case 4:18-mj-00047-JCH “SEALE 6 "eh Page 1 Of ele Fageige: 8 Sst couRT

AO 106 (Rev. 04/10) Application for a Search Warrant deyett AT CHARLOTTESVI LE, VA

UNITED STATES DISTRICT CouRT MAR T4 2018

 

for the
Western District of Virginia
In the Matter of the Search of )
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Br aes the worsen Bo name and address) Case No. LL | $m) oO 6 Ly r|
FACEBOOK USER ID )
1000074046428 12

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under

penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A (incorporated herein by reference)

located in the Northern District of California

, there is now concealed (identify the
person or describe the property to be seized):

 

See Attachment B (incorporated herein by reference)

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
Wf evidence of a crime;

CO contraband, fruits of crime, or other items illegally possessed;

property designed for use, intended for use, or used in committing a crime;
(J a person-to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 USC 1959(a) Violent Crime in Aid of Racketeering Activity

The application is based on these facts:

Please see attached Affidavit.

wm Continued on the attached sheet.

a Delayed notice of 180 days (give exact ending date if more than 30:days: _09/10/2018- _) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

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Seat in

 

Applicant’s signature
FBI - TFO Devin Taylor
Printed name and title

Sworn to before me and signed in my presence:

Date: 03/14/2018 4 C. Thy —

Judge's sign
City and state: Charlottesville, Virginia The Honorable Joel C. ee U.S. Magistrate Judge

Printed name and title

 
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_ CLERK'S OFFICE U.S. DIST. COURT
AT CHARLOTTESVILE, VA
FILED

 

‘IN THE UNITED STATES DISTRICT COURT MAR 14 2018
FOR WESTERN DISTRICT OF VIRGINIA

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IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH

 

 

 

FACEBOOK USER ID: ' '
Case No. Ly AG 0004 “I
100007404642812 J
Filed Under Seal
THAT ARE STORED AT PREMISES
CONTROLLED BY FACEBOOK, INC.
AFFIDAVIT IN SUPPORT OF

AN APPLICATION FOR A SEARCH WARRANT
I, Devin Taylor, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND |
1. I make this affidavit in support of an application for a search warrant for
information associated with certain Facebook user IDs that are stored at premises owned,
maintained, controlled, or operated by Facebook Inc. (“Facebook”), a social networking company
headquartered in Menlo Park, California. The information to be searched is described in the
following paragraphs and in Attachment A. This affidavit is made in support of an application for
a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require
Facebook to disclose to the government records and other information in its possession pertaining
to the subscriber or customer associated with the user ID, including the content of the subscriber’s
or customer’s account.
2. I am an Investigator with the Pittsylvania County Sheriff's Office based in
Chatham, Virginia. I have been a Task Force Officer with the Federal Bureau of Investigation

- (“FBI”) since October 2016 and currently work in that capacity while employed with the
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Pittsylvania County Sheriff's Office. Prior to serving in the role of an Investigator, I served as a
Deputy Sheriff employed by the Pittsylvania County Sheriff's Office. Prior to my appointment to
Deputy Sheriff and then promotion to Investigator, I served as a crime analyst with the Pittsylvania
County Sheriff's Office, where my duties encompassed analyzing digital records from cellular
devices, to include search warrant returns from various social media platforms, such as Facebook.

3. I have had extensive training at the Piedmont Regional Criminal Justice Training
Academy, where I completed entry level law enforcement training and hold a Virginia Law
Enforcement Certification. I am also a certified Instructor with the Piedmont Regional Criminal
Justice Training Academy, which allows me to teach Virginia Department of Criminal Justice
Services curriculum to upcoming officers enrolled in training academies in the Commonwealth of
Virginia. |

4. I have also been trained on the investigative use of cellular and other electronic
devices, to include performing forensic examinations on such devices which I hold numerous
certifications. In addition, I have extensive training in cyber crimes, hold numerous certifications
regarding cyber and digital investigations, and have conducted numerous cyber investigations with
a focus on social media. I am also a certified Liaison Officer with the Virginia Fusion Center. To
obtain my certification, I participated in training focused significantly on gang investigations.

5. During my career as a law enforcement officer, I have authored numerous affidavits
in support of state search warrants, criminal complaints, and arrest warrants. As a TFO with the
FBI, I have authored affidavits in support of federal criminal complaints.

6. In addition, I am presently and have previously participated in numerous criminal
investigations focused on firearms, drug trafficking violations, criminal street gangs, human

trafficking, cyber security, and national security cases. I have had training on violations of Title
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18, United States Code, Section 1961 et seg. (Racketeer Influenced and Corrupt Organizations
Act); Title 18, United Stdtes Code, Section 1959 ef seg. (Violent Crimes in Aid of Racketeering);
Title 18, United States Code, Section 1951 ef seg. (Racketeering); Title 18 United States Code,
Section 921 ef seq. (Firearms); and Title 21, United States Code, Section 841 ef seg. (Drug
Offenses).

7. As a FBI TFO, I am an “investigative or law enforcement officer” of the United
States within the meaning of Title 18, United States Code, Section 2510(7) and am empowered by
law to conduct investigations of, and to make arrests for, offenses in violation of Titles 18 and 21
of the United States Code.

8. The facts in this affidavit come from my own investigation, observations, training
and experience, and information obtained from other law enforcement officers and witnesses,
including members of the gang under investigation and their associates. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

9. Based on my training and experience and the facts as set forth in this affidavit, there
is probable cause to believe that violations of Title 18, United States Code, Section 1962 (RICO);
Title 18, United States Code, Section 1959 (VICAR); Title 18, United States Code, Sections 922,
924 (Firearms Offenses); and Title 21, United States Code, Section 841 by the individuals listed
herein. There is also probable cause to search the information described in Attachment A for
evidence of these crimes and contraband, or fruits of these crimes, as described in Attachment B.

TECHNICAL BACKGROUND ON FACEBOOK
10. | Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com. Facebook allows its users to establish
 

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accounts with Facebook, and users can then use their accounts to share written news, photographs,
videos, and other information with other Facebook users and sometimes with the general public.

11. Facebook asks users to provide basic contact and personal identifying information
to Facebook during the registration process or later. This information may include the user’s full
name, birth date, gender, contact e-mail addresses, Facebook passwords, Facebook security
questions and answers (for password retrieval), physical address (including city, state, and zip
code), telephone numbers, screen names, websites, and other personal identifiers. Facebook also
assigns a user identification number to each account.

12. Facebook users may join one or more groups or networks to connect and interact
with other users who are members of the same group or network. Facebook assigns a group
identification number to each group. A Facebook user can also connect directly with individual
Facebook users by sending each user a “Friend Request.” If the recipient of a “Friend Request”
accepts the request, then the two users will become “Friends” for purposes of Facebook and can
exchange communications or view information about each other. Each Facebook user’s account
includes a list of that user’s “Friends” and a “News Feed,” which highlights information about the
user’s “Friends,” such as profile changes, upcoming events, and birthdays.

13. Facebook users can select different levels of privacy for the communications and
information associated with their Facebook accounts. By adjusting these privacy settings, a
Facebook user can make information available only to himself or herself to particular Facebook
users, or to anyone with access to the Internet, including people who are not Facebook users. A
Facebook user can also create “lists” of Facebook friends to facilitate the application of these
privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook.
 

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14. Facebook users can create profiles that include photographs, lists of personal
interests, and other information. Facebook users can also post “status” updates about their
whereabouts and actions, as well as links to videos, photographs, articles, and other items available
elsewhere on the Internet. Facebook users can also post information about upcoming “events,”
such as social occasions, by listing the event’s time, location, host, and guest list. In addition,
Facebook users can “check in” to particular locations or add their geographic locations to their
Facebook posts, thereby revealing their geographic locations at particular dates and times. A
particular user’s profile page also includes a “Wall,” which is a space where the user and his or
her “Friends” can post messages, attachments, and links that will typically be visible to anyone
who can view the user’s profile.

15. Facebook allows users to upload photos and videos, which may include any
metadata such as location that the user transmitted when s/he uploaded the photo or video. It also
provides users the ability to “tag” (i.e., label) other Facebook users in a photo or video. When a
user is tagged in a photo or video, he or she receives a notification of the tag and a link to see the
photo or video. For Facebook’s purposes, the photos and videos associated with a user’s account
will include all photos and videos uploaded by that user that have not been deleted, as well as all
photos and videos uploaded by any user that have that user tagged in them.

16. | Facebook users can exchange private messages on Facebook with other users.
These messages, which are similar to e-mail messages, are sent to the recipient’s “Inbox” on
Facebook, which also stores copies of messages sent by the recipient, as well as other information.
Facebook users can also post comments on the Facebook profiles of other users or on their own
profiles; such comments are typically associated with a specific posting or item on the profile. In

addition, Facebook has a Chat feature that allows users to send and receive instant messages
 

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through Facebook. These chat communications are stored in the chat history for the account.
Facebook also has a Video Calling feature, and although Facebook does not record the calls
themselves, it does keep records of the date of each call. -

17. If a Facebook user does not want to interact with another user on Facebook, the

‘first user can “block” the second user from seeing his or her account.

18. | Facebook has a “like” feature that allows users to give positive feedback or connect
to particular pages. Facebook users can “like” Facebook posts or updates, as well as webpages or
content on third-party (i.e., non-Facebook) websites. Facebook users can also become “fans” of
particular Facebook pages.

19. Facebook has a search function that enables its users to search Facebook for
keywords, usernames, or pages, among other things.

20. Each Facebook account has an activity log, which is a list of the user’s posts and
other Facebook activities from the inception of the account to the present, The activity log includes
stories and photos that the user has been tagged in, as well as connections made through the
account, such as “liking” a Facebook page or adding someone as a friend. The. activity log is
visible to the user but cannot be viewed by people who visit the user’s Facebook page.

21. Facebook Notes is a blogging feature available to Facebook users, and it enables
users to write and post notes or personal web logs (“blogs”), or to import their blogs from other
services, such as Xanga, LiveJournal, and Blogger.

22. The Facebook Gifts feature allows users to send virtual “gifts” to their friends that
appear as icons on the recipient’s profile page. Gifts cost money to purchase, and a personalized

message can be attached to each gift. Facebook users can also send each other “pokes,” which are
 

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free and simply result in a notification to the recipient that he or she has been “poked” by the
sender.

23. | Facebook also has a Marketplace feature, which allows users to post free classified
ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

24. In addition to the applications described above, Facebook also provides its users
with access to thousands of other applications (“apps”) on the Facebook platform. When a
Facebook user accesses or uses one of these applications, an update about that the user’s access or
use of that application may appear on the user’s profile page.

25. Facebook uses the term “Neoprint” to describe an expanded view of a given user
profile. The “Neoprint” for a given user can include the following information from the user’s
profile: profile contact information; News Feed information; status updates; links to videos,
photographs, articles, and other items; Notes; Wall postings; friend lists, including the friends’
Facebook user identification numbers; groups and networks of which the user is a member,
including the groups’ Facebook group identification numbers; future and past event postings;
rejected “Friend” requests; comments; gifts; pokes; tags; and information about the user’s access
and use of Facebook applications.

26. Facebook also retains Internet Protocol (“IP’’) logs for a given user ID or IP address.
These logs may contain information about the actions taken by the user ID or IP address on
Facebook, including information about the type of action, the date and time of the action, and the
user ID and IP address associated with the action. For example, ifa user views a Facebook profile,
that user’s IP log would reflect the fact that the user viewed the profile; and would show when and

from what IP address the user did so.
 

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27. Social networking providers like Facebook typically retain additional information
about their users’ accounts, such as information about the length of service (including start date),
the types of service utilized, and the means and source of any payments associated with the service
(including any credit card or bank account number). In some cases, Facebook users may
communicate directly with Facebook about issues relating to their accounts, such as technical
problems, billing inquiries, or complaints from other users. Social networking providers like
Facebook typically retain records about such communications, including records of contacts
between the user and the provider’s support services, as well as records of any actions taken by
the provider or user as a result of the communications.

28. “As explained herein, information stored in connection with a Facebook account
may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal
‘conduct under investigation, thus enabling the United States to establish and prove each element
of an offense (such as an enterprise) or, alternatively, to exclude the innocent from further
suspicion. In my training and experience, a Facebook user’s “Neoprint,” IP log, stored electronic
communications, photographs, and other data retained by Facebook can indicate who has used or
controlled the Facebook account. This “user attribution” evidence is analogous to the search for
“indicia of occupancy” while executing a search warrant at a residence. For example, profile
contact information, private messaging logs, status updates, and tagged photos (and the data
associated with the foregoing, such as date and time) may be evidence of who used or controlled
the Facebook account at a relevant time. Further, Facebook account activity can show how and
when the account was accessed or used. For example, as described herein, Facebook logs the
Internet Protocol (IP) addresses from which users access their accounts along with the time and

date. By determining the physical location associated with the logged IP addresses, investigators
 

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can understand the chronological and geographic context of the account access and use relating to
the crime under investigation. Such information allows investigators to understand the geographic
and chronological context of Facebook access, use, and events relating to the crime under
investigation. Additionally, Facebook builds geo-location into some of its services. Geo-location
allows, for example, users to “tag” their location in posts and Facebook “Friends” to locate each
other. This geographic and timeline information may tend to either inculpate or exculpate the
Facebook account owner. Last, Facebook account activity may provide relevant insight into the
Facebook account owner’s state of mind as it relates to the offense under investigation. For
example, information on the Facebook account may indicate the owner’s motive and intent to
commit a crime (e.g., information indicating a plan to commit a crime), or consciousness of guilt
(e.g., deleting account information in an effort to conceal evidence from law enforcement).

29. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information concerning
subscribers and their use of Facebook, such as account access information, transaction information,
and other account information.

THE BLOODS OF DANVILLE, VIRGINIA

30. Starting in 2017, the FBI, along with other federal agencies, the Danville Police
Department (“DPD”), and the Pittsylvania County Sheriff s Office have been investigating gang-
related violent crime and homicides in the Danville, Virginia area, During the course of this
investigation, we have learned that multiple street gangs operate in the Danville area, including
the “Nine Trey Gangsters” (“NTG”) also known as “9-Trey” or “9-3”; “Norfside;” “Camp Grove
Killas;” “Pull-Up Billys;” “Bully Billys;” and the “Milla Time Gangsters.” These smaller street

gangs are referred to as “sets,” but are all affiliated with the Bloods, which is a nationally known
 

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gang founded in Los Angeles in the 1970s as a response to the rise and dominance of the Crips
street gang. The names of the sets have changed over time as the sets have evolved in Danville.
31. It is believed that members of these Danville sets are closely associated, overlap,
and act similarly, however, and thus, this affidavit will hereinafter refer to them collectively as
“BLOODS.” The BLOODS and their members are believed to have committed, and continue to
commit, violations of federal criminal statutes including the following:
a. Title 18, United States Code, Section 1962 (RICO);
b. Title 18, United States Code, Section 1959 (VICAR);
c. Title 18, United States Code, Section 922(g)(1) (Possession of a Firearm by a
Convicted Felon); and
d. Title 18, United States Code, Section 924(c) (Use of Firearm in Furtherance of
a Crime of Violence)
32. During the course of this investigation, the FBI has gathered evidence regarding the
. nature, scope, structure, and activities of the BLOODS. The sources of evidence include the
following:
a. Review of the publicly available portions of various Facebook accounts
maintained by gang members and associates;
b. Review of historical criminal activity of gang members and associates, as
detailed in police reports and court records:
c. Jail calls between gang members and associates;
d. Letters from incarcerated gang members;
e. Evidence obtained from cellphone search warrants; and

f. Interviews with current gang members and associates.

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33. | The BLOODS area violent criminal street gang operating in the Danville,
Virginia area in the Western District of Virginia. To date, the investigation into the
BLOODS has revealed the following information:

a. The BLOODS are among one of the most violent criminal organizations
currently operating in the Danville area. According to investigations by law
enforcement, the BLOODS have committed various violent crimes, including
armed burglary, robbery, arson, shootings of rival gang members, assaults,
homicides, and witness intimidation.

b. In addition to their violent criminal activity, the BLOODS derive income from
drug distribution and sales of stolen firearms and property.

c. BLOODS operate within a defined geographic territory within Danville.
Territory can be marked by graffiti, hanging shoes, or other gang symbols. It
is believed that BLOODS are trying to maintain control over their territory.

d. Members are initiated through “beat ins” that typically consist of a thirty-one
second beating by multiple gang members. A member can also be “blessed in”
by doing a predetermined crime or list of crimes, such as a murder or a series
of robberies. Members can rarely leave the gang. Ifa member wants to leave
the gang, the member must be “beat out,” which can be a beating that the
member may not survive.

e. As is typical with street gangs, the BLOODS commonly utilize a variety of
unifying marks, manners, and identifiers, including “gang signs,” which refer
to hand gestures and tattoos that are specific to the gang organization. These

insignia include the 5-point star, which shows a relation to the People Nation (a

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well-documented organization consisting of a combination of street gangs
including Bloods). The BLOODS often identify themselves by using one hand
to form a “b,” this is believed to show they are members of a Bloods gang.
BLOODS have also utilized the letters “DPDK,” which is believed to stand for
“Danville Police Department Killers,” and have also been seen wearing
clothing with the statement or the abbreviation on them. BLOODS also
identifies themselves with the color red, as is typical with Bloods gangs
nationally.

f, The BLOODS operate under a similar hierarchy and leadership structure.
Generally, members are ranked based on seniority within the gang, amount of
individual criminal activity, and other contributions to the gang. Members
advance within the leadership structure. Different “positions” within the gang
have different names, such as “one-star” or “002,” which indicates the level that
person holds within the gang structure. Each set has an identified leader at the
top of the hierarchy.

g. The BLOODS function according to a set of rules contained in “books of
knowledge.” The books of knowledge describe such things as the leadership
structure, codes, regulations (called “Dos and Don’ts”), and expectations of
gang members.

h. BLOODS frequently possess firearms, including handguns and assault-style
rifles. As is typical with street gangs, BLOODS show themselves brandishing

these weapons in publicly available videos and in photographs on social media,

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such as Facebook, in order to promote the gang’s violent and intimidating
image. BLOODS also use social media as a recruitment tool.

34. Because of their gang association and participation in various violent crimes,
numerous BLOODS members and their associates are currently under investigation, and there is
reasonable suspicion to believe the requested records will be relevant and material to the ongoing
criminal investigation of the gang itself and of the aforementioned offenses. |

PROBABLE CAUSE: THE GANG AND FACEBOOK

35. During the course of this investigation (and in related Bloods investigations), we
have learned and seen that BLOODS and associates regularly use Facebook as a means of
recruitment, take credit for violent incidents, communicate with one another about their criminal ‘
behavior, promote the image of the gang, and schedule gang meetings.

36. For example, current gang members have stated that they use the Facebook
Messenger portion of Facebook to communicate directly with other gang members to coordinate
criminal activity, share information about a crime in progress, and provide surveillance or other
intelligence to members in advance of a criminal act. (Based on my experience and training, such
messages can still exist in Facebook’s files even after such conversations or messages are deleted
by the account holder.)

37. | Asanother example, towards the end of April 2017, there was an increase in activity
on Facebook regarding the BLOODS set called “Norfside.” There are several individuals publicly
claiming on Facebook to be a part of this set. On Facebook, Norfside members have expressed
their willingness to kill for their gang. In one particular post, members explicitly stated that they
were unconcerned with what set an individual belongs to, they would go to war with anyone, no

matter the age of the individual.

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38. To help recruit additional members, BLOODS post rap videos and photographs
reflecting members engaged in a desired lifestyle, such as members holding large amounts of cash,
standing by or driving vehicles, and wearing jewelry.

39. Based on my training and experience, and that of other law enforcement officers
with training and experience in the investigation of violent gangs, your affiant knows that even
with a lengthy passage of time or deletion of information from the publically accessible website
by the user, Facebook stores the account holder's communications, including but not limited to,
private messages, status updates, links to videos, photographs, notes, wall postings, friend lists,
subscriber's full name, birth date, address, telephone numbers, contact e-mail addresses, screen
names/profiles, account/user identification numbers, duration of account, and other personal
identifiers going back multiple years. This nonpublic information stored by Facebook relating to
the below Facebook account is likely to be of significant evidentiary value.

40. In the course of investigating the BLOODS membership and activities, as well as
various murders and violent crimes in the Danville area generally, the FBI and DPD have identified
a number of Facebook accounts maintained by suspected BLOODS members and associates.
Several of these, including the account listed below, had their privacy settings adjusted so that
content was available to the public. In particular, the below account contained the following public
content:

Facebook Account “Ace Boogie” - (FACEBOOK ID 100007404642812)

a. Your Affiant noted that “Ace Boogie” account as being listed as a Facebook

unique address as (young.valenticeace) this name indicates to your Affiant that
the owner of this account is claiming to be a member of Valentine Bloods a set

of Bloods known to operate in Danville, Virginia.

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b. Your Affiant has observed through Federal search and seizure warrants other
known Bloods to post to their Facebook walls “aceboogey100 Free The #Gang
900_600.” Your Affiant understands this to mean free “Ace Boogy” who is
known to your Affiant to be incarcerated.

c. Your Affiant notes on his publicly available Facebook page, “Ace Boogie”
displaying gang signs common to the Bloods street gang.

d. Your Affiant notes “Ace Boogie” in photos with other known Bloods gang
members displaying firearms and gang signs.

e. Your Affiant notes “Ace Boogie” on Facebook pictured in a photograph with
another male subject where a gun is displayed with the handle wrapped in a red
bandana (commonly referred to as a Bloods flag).

41. Therefore, the contents of the Facebook accounts of known BLOODS would
provide direct evidence of various violent and other crimes, including material intent evidence,
and would also provide key enterprise evidence.

CONCLUSION

42. Based on the foregoing information, your affiant submits that probable cause
exists that the individual listed above has been engaging in activity that violates Title 18, United
States Code, Section 1962; Title 18, United States Code, Section 1959; and Title 18, United States
Code 924. I believe that the Facebook records being sought for the listed individual contain

evidence of the criminal enterprise, as well as direct evidence of various federal crimes.

Respectfully submitted,

se

Devin Taylor; Force Officer
Federal Bureau of Investigation

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Subscribed and sworn to before me on March, | i 2018.

    

GISTRATE:JUDGE
ATTACHMENT A

Property to Be Searched
This warrant applies to information associated with Facebook user ID:

100007404642812

that is stored at premises owned, maintained, controlled, or operated by Facebook Inc., a company

headquartered in Menlo Park, California.

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ATTACHMENT B

   

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Particular Things to be Seized

I. Information to be disclosed by Facebook

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To the extent that the information described in Attachment A is within the possession, custody,
or control of Facebook Inc. (“Facebook”), including any messages, e-mails, records, files, logs,
or information that have been deleted but are still available to Facebook, or have been preserved
pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the

following information to the government for each user ID listed in Attachment A:

(a) All contact and personal identifying information, including: full name, user
identification number, birth date, gender, contact e-mail addresses, Facebook
passwords, Facebook security questions and answers, physical address (including
city, state, and zip code), telephone numbers, screen names, websites, and other
personal identifiers. If any of the aforementioned Facebook pages are group
accounts, all of the following information is requested: group identification
number, a list of users currently registered to the group; and Group Contact Info,
including all contact information for the creator and/or administrator/s of the
group and a PDF of the current status of the group profile page.

(b) — All activity logs for the account and all other documents showing the user’s posts
and other Facebook activities;

(c) All photos and videos uploaded by that user ID or Facebook accounts associated
with the email addresses of the administrators, and all photos and videos uploaded

by any user that have that user tagged in them together with any and all photos
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identified by Facebook using Facebook’s facial-recognition software to match the
images uploaded by the user IDs;.

All profile information; News Feed information; status updates; links to videos,
photographs, articles, and other items; Notes; Wall postings; friend lists, including
the friends’ Facebook user identification numbers; groups and networks of which
the user is a member, including the groups’ Facebook group identification
numbers: future and past event postings; rejected “Friend” requests; comments;
gifts; pokes; tags; and information about the user’s access and use of Facebook
applications;

All other records of communications and messages made or received by the user,
including all private messages, chat history, video calling history, and pending
“Friend” requests;

All “check ins” and other location information;

All IP logs, including all records of the IP addresses that logged into the account;
All records of the account’s usage of the “Like” feature, including all Facebook
posts and all non-Facebook webpages and content that the user has “liked”;

All information about the Facebook pages that the account is or was a “fan” of;
All past and present lists of friends created by the account;

All records of Facebook searches performed by the account;

All information about the user’s access and use of Facebook Marketplace;

The types of service utilized by the user;
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(n) The length of service (including start date) and the means and source of any
payments associated with the service (including any credit card or bank account
number);

(0) All privacy settings and other account settings, including privacy settings for
individual Facebook posts and activities, and all records showing which Facebook
users have been blocked by the account; and

(p) All records pertaining to communications between Facebook and any person
regarding the user or the user’s Facebook account, including contacts with support

services and records of actions taken.

i. Information to be seized by the government

All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of Title 18, United States Code, §§ 1962 (Racketeering Influenced
Corrupt Organizations Act), 18 United States Code, § 1959 (Violent Crimes in Aid of
Racketeering), Title 18, United States Code, § 922(g) (Felon in Possession), Title 18, United
States Code, § 924(c) (Use of Firearm in Furtherance of a Crime of Violence) involving the

account identified in Attachment A, including information pertaining to the following matters:

a. Evidence relating to the structure, membership, scope, and operations of the
Bloods criminal enterprise or the structure, menibership, scope, and operations
- of a rival or competing gang;
b. Evidence relating to the membership, association or affiliation with a RICO or
VICAR enterprise including any and all criminal activity associated with such

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enterprise;
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Communications regarding threats, intimidation, tampering and violence
with/against current and former members and associates of the Bloods or

current and former members and associates of rival or competing gangs;

. Communications regarding threats, intimidation, tampering and violence

with/against witnesses, and law enforcement, including any attempts to
impede or obstruct justice;

Evidence indicating how and when the Facebook account was accessed or
used, to determine the chronological and geographic context of account
access, use, and events relating to the crimes under investigation and to the
Facebook account owner;

Evidence indicating the Facebook account owner’s state of mind as it relates

to the crimes under investigation;

.. The identity of the person(s) who created or used the user ID, including

records that help reveal the whereabouts of such person(s);

. The identity of the person(s) who communicated with the user ID about

matters relating to violations of Title 18, United States Code, § 1962
(Racketeering Influenced Corrupt Organizations Act); Title 18, United States
Code, § 1959 (Violent Crimes in Aid of Racketeering); Title 18, United States
Code, § 922(g) (Felon in Possession of Firearm); and Title 18, United States
Code, § 924(c) (Use of Firearm in Furtherance of a Crime of Violence),

including records that help reveal their whereabouts.
